                                                         PETER S HELLER PA                           PAGE       92
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                                     UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRTCT OF CA.L,FORNIA
                                             SAN JOSE DIVISION
                                                                          *E-FILED - 7/12/06*

    UNITED STATES OF AMERICA.                                        xxxxxxxxxxxxx
                                                                     06-00054-RMW
                Plaintiff,
                                                     11      STIPULATION REqUESTING
                                                             CONTINUANCE OF SENTENCING
                                                             HEARING AND [PROPOSED]
                                                                           XXXXXXX ORDER
    MATTHEW FONG,
      a/k/a C Y ~ ,
      aMa cyb3r,
                                                     i
      alkla 1329,
                                                     I
                                                     1


            It is hereby stipulated and agreed between defendant Matthew Fong,by and through his
    counsel of record, Peter Heller, Esq., and the lJnited States, by and through Assistant United
    States Attorney Mark L. Krotosk, as follows:
            1. This matter is presently set for a sentencing hearing on Awt    7,2006 at 9:00 a.m.
            2. The defense requests additional time to address sentencing and other issues, until
    September 25,2006. The government does not oppose this request.
            3. Probation has been advised and does not oppose this request.
    /I // //

    /I /I

                                                                   xxxxxxxx ORDER
    STIPULATION REQUESTING CONTINUANCE OF SENTENCING WEARING AND [PROPOSED]
    CR 06-0054-RMW
                                                PETER S HELLER PA
      Case 5:06-cr-00054-RMW           Document 169   Filed 07/12/06          Page 2 of 2




   For the foregoing reasons,and that the ends of justice are served by continuing this case, the
parties stipulate and nquest to a continuance ofthe sentencing hearing from August 7,2006 at
9:00 a.m.to September 25,2006 at 9:00 a.m., or the next available date.


Dated: June,     2006                               KEVM V. RYAN
                                                    United States Attorney




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                                                                   OT
                                                                      sbf    Attorney
Dated: ~ u n e z 2
                 2006
                                                         , 4&//pe*
                                                         &
                                                    P E E R HELLER
                                                    Ammey for Defendant
   IT IS SO ORDERED.
   Upon good cause shown, the sentencing hearing is continued from August 7,2006 at 9:00
a.m. to September 25,2006 at 9:00a.m.
      July
        xxx 12 2006
Dated: June,
                                                      /s/ Ronald M. Whyte
                                                 ET-R
                                                    United States District Judge

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                                                              XXXXXX ORDER
STIPULATION REQUESTING CONTINUANCE OF SEZJTENCWG HEARING AND [PROPOSED]
CR 06-0054-RMw                            Page 2 of 2
